Document 1442 Entered on FLSD Docket 11/22/2000 Page 1 of 1

UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF FLORIDA
MIAMI DIVISION

   
  
  
   
   

MONITED STATES OF AMERICA : Case No. 91-6060-CR-FAM

Plaintiff, :

Tuesday, 10:00 a.m.
October 24, 1995
Miami, Florida

Bvccora FALCON and SALVADOR
i

 

0
®
bh
oO
a
a
o
a
ct
a

NOV Zi cuuu

CLARENCE Map
CLER., U8, par ae.
5.0. OF FLA. Minas

 

 

VOLUME VI '

TRANSCRIPT OF PROCEEDINGS |
BEFORE THE HONORABLE FEDERICO A. MORENO
AND A JURY

 

 

CHRISTOPHER CLARK

and MICHAEL PATRICK SULLIVAN
Assistant United States
Attorneys

ALBERT J. KRIEGER, ESQ.
and SUSAN VAN DUSEN, ESQ.

 

MARTIN G. WEINBERG, ESQ.
and ROY BLACK, ESQ.

ANTON B. SCHWARTZ
Official Court Reporter

MI

U.S. DISTRICT COURT, SOUTHERN DISTRICT OF FLORTNA

re

 
